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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


SYLENA SCHENDEL,                                   Case No. 22-cv-06695-AGT
                Plaintiff,
                                                   ORDER TO SHOW CAUSE
         v.

HERSHA HOSPITALITY
MANAGEMENT, L.P.,
                Defendant.

      Despite being served with process (dkt. 7), defendant hasn’t timely appeared and re-

sponded to plaintiff’s complaint. On or before April 14, 2023, plaintiff must either move for

entry of default, see Fed. R. Civ. P. 55(a), or show cause for why this case shouldn’t be dis-

missed for failure to prosecute, see Fed. R. Civ. P. 41(b).

      IT IS SO ORDERED.

Dated: April 7, 2023


                                                    ______________________________
                                                    Alex G. Tse
                                                    United States Magistrate Judge
